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                                     EXHIBIT A



From: Marks, Jonathan <jmarks@pa.gov>
Sent: Tuesday, November 1, 2022 6:50 PM
To: Marks, Jonathan <jmarks@pa.gov>
Subject: Important DOS Email re: Undated Ballots
Importance: High



Dear county election official,



Please be advised that the Supreme Court of Pennsylvania issued the attached order
this afternoon directing county boards of elections to “refrain from counting any
absentee and mail-in ballots received for the November 8, 2022 general election that
are contained in undated or incorrectly dated outer envelopes.” The Court also directed
that counties “segregate and preserve any ballots contained in undated or incorrectly
dated outer envelopes.”



This order means that you must remember to do two things as you pre-canvass and
canvass absentee and mail-in ballots:



   1. Segregate AND preserve these undated and incorrectly dated ballots; and
   2. Do not count the votes cast on ballots with undated or incorrectly dated ballots



Warmest regards,



Jonathan Marks | Deputy Secretary for Elections and Commissions (he, him, his)

Office of the Secretary

302 North Office Building, Harrisburg, PA 17120

Office: 717.787.6458 Direct: 717.783.2035

dos.pa.gov | vote.pa.gov | Facebook | Twitter
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                                   [J-85-2022]
                    IN THE SUPREME COURT OF PENNSYLVANIA
                                MIDDLE DISTRICT


 DAVID BALL, JAMES D. BEE, JESSE D.              : No. 102 MM 2022
 DANIEL, GWENDOLYN MAE DELUCA,                   :
 ROSS M. FARBER, LYNN MARIE                      :
 KALCEVIC, VALLERIE SICILIANO-                   :
 BIANCANIELLO, S. MICHAEL STREIB,                :
 REPUBLICAN NATIONAL COMMITTEE,                  :
 NATIONAL REPUBLICAN                             :
 CONGRESSIONAL COMMITTEE, AND                    :
 REPUBLICAN PARTY OF PENNSYLVANIA,               :
                                                 :
                      Petitioners                :
                                                 :
                                                 :
               v.                                :
                                                 :
                                                 :
 LEIGH M. CHAPMAN, IN HER OFFICIAL               :
 CAPACITY AS ACTING SECRETARY OF                 :
 THE COMMONWEALTH, AND ALL 67                    :
 COUNTY BOARDS OF ELECTIONS,                     :
                                                 :
                      Respondents                :


PER CURIAM                                      DECIDED: November 1, 2022

       AND NOW, this 1st day of November, 2022, upon review of the briefs of the

parties and amici, the Petitioners’ request for injunctive and declaratory relief is

granted in part and denied in part. The Pennsylvania county boards of elections

are hereby ORDERED to refrain from counting any absentee and mail-in ballots

received for the November 8, 2022 general election that are contained in undated

or incorrectly dated outer envelopes. See 25 P.S. §3146.6(a) and §3150.16(a).

       The Court is evenly divided on the issue of whether failing to count such

ballots violates 52 U.S.C. §10101(a)(2)(B).
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       We hereby DIRECT that the Pennsylvania county boards of elections

segregate and preserve any ballots contained in undated or incorrectly dated outer

envelopes.

       The    Republican     National   Committee,   the   National   Republican

Congressional Committee, and the Republican Party of Pennsylvania have

standing. Petitioners David Ball, James D. Bee, Jesse D. Daniel, Gwendolyn Mae

Deluca, Ross M. Farber, Lynn Marie Kalcevic, Vallerie Siciliano-Biancaniello, and

S. Michael Streib are hereby DISMISSED from the case for lack of standing.

       Opinions to follow.

       Chief Justice Todd and Justices Donohue and Wecht would find a violation

of federal law.

       Justices Dougherty, Mundy and Brobson would find no violation of federal

law.
